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                        UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
10
                                 EASTERN DIVISION
11
     JASON SHELTON,                       Case No. 5:18-cv-02167-SP
12
                            Plaintiff,    ORDER ON STIPULATION FOR
13                                        DISMISSAL
          v.
14
     COUNTY OF SAN BERNARDINO;
15   SERGEANT GARY WHEELER;
     DEPUTY DOE 1; DEPUTY DOE 2; and
16   DOES 1 through 100, inclusive,

17                          Defendants.

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     ORDER ON STIPULATION FOR DISMISSAL                        5:18-CV-02167-SP
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 1                                          ORDER
 2         Good cause appearing, this action is dismissed with prejudice. All parties are
 3   to bear their own costs and attorney’s fees arising out of this matter.
 4                                                  IT IS SO ORDERED.
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 6
     Dated: December 3, 2021                        _________________________
 7                                                  Hon. Sheri Pym
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     ORDER ON STIPULATION FOR DISMISSAL                                5:18-CV-02167-SP
